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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


XIAOTIAN LIU,

           Plaintiff,

    v.

KRISTI NOEM, Secretary of the Department
of Homeland Security;                                 No. ________________

TODD LYONS, Acting Director of the
Immigration and Customs Enforcement;

           Defendants.




           PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER
                        (ORAL ARGUMENT REQUESTED)

         Pursuant to Fed. R. Civ. P. 65 and Section 705 of the Administrative Procedure Act, 5

U.S.C. § 705, and Counts 1 and 2 of Plaintiff’s Complaint for Declaratory and Injunctive Relief—

and for the reasons stated in the accompanying memorandum, declarations, and all pleadings

filed—Plaintiff respectfully moves this Court to issue a temporary restraining order (i) enjoining

Defendants from terminating Plaintiff’s F-1 student status under the Student and Exchange Visitor

(SEVIS) system and (ii) requiring Defendants to set aside their termination determination. The

grounds for this motion are set forth in Plaintiff’s accompanying memorandum of law in support

of his motion.

         Plaintiff also moves this Court for an order waiving the requirement for bond or security.




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                                  Xiaotian Liu,

                                  By and through his Counsel,

                                  /s/ SangYeob Kim
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Date: April 7, 2025




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 7, 2025, a true and exact copy of the foregoing was served

via email upon Defendants’ counsel as follows:

Rob Rabuck, Assistant United States Attorney
Rob.Rabuck@usdoj.gov



Dated: April 7, 2025                        Respectfully submitted,

                                            /s/ SangYeob Kim
                                            SangYeob Kim (NH Bar: 266657)




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